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  *         s
   1 0 2 5 6 3    9 4 4 •                                                                                   ~ J\_,~~.
                            IN THE DISTRICT COURT OF OKLAHOMA COUNTY
                                        STATE OF OKLAHOMA

            STATION 27, INC,                                       )
                                                                   )
                             Plaintiff,                            )
                                                                   )
             versus                                                )              Case No.
                                                                   )
             EMPLOYERS MUTUAL INSURANCE                            )
                                                                                 FILED IN DISTRICT COURT
             COMPANY, ED BERRONG INSURANCE                         )                OKLAHOMA COUNTY
             AGENCY, INC., ENGLE MARTIN &                          )
             ASSOCIATES, INC., and DAVID PAUL                      )
             HAUER, II,                                            )                      MAY 19    zm~
                                                                   )                      1l!VJ K..HUDt:S
                              Defendants.

                                                      PETITION
                                                                   )
                                                                                      43'/Ptl#W'
                      COME NOW the Plaintiffs, STATION 27, INC. (hereinafter "Plaintiff"), and for

             their causes of action against Defendants, EMPLOYERS MUTUAL INSURANCE

             COMPANY, (hereinafter collectively referred to as "EMPLOYERS MUTUAL"), ED

             BERRONG INSURANCE AGENCY, INC. (hereinafter "ED BERRONG"), ENGLE

             MARTIN & ASSOCIATES, INC. (hereinafter "ENGLE MARTIN"), and DAVID PAUL

             HAUER, lT (hereinafter "HAUER") hereby states as follows:

                                              STATEMENT OF FACTS

             I.        Plaintiff is situated in Oklahoma City, Oklahoma County, Oklahoma. Plaintiff has

                       an insurable interest in the property located at 5300 NE 122nd St., Oklahoma City,

                       Oklahoma 73 13 I .

             2.        Defendant, EMPLOYERS MUTUAL, is a corporation incorporated under the

                       laws of the State of Iowa, and is an insurance company registered to engage in the

                       business of insurance in the state of Oklahoma.




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3.   Defendant, ED BERRONG, is an insurance agency incorporated under the laws of

     the State of Oklahoma, having its principal place of business in Oklahoma.

4.   Defendant, ENGLE MARTIN, is a corporation authorized to conduct business in

     the state of Oklahoma and is engaged in the business of insurance in the state of

     Oklahoma.

5.   Defendant, HAUER, upon infom1ation and        beliet~   is licensed as an insurance

     adjuster in the state of Oklahoma. HAUER 'S adjuster license number in the State

     of Oklahoma is #0100133977.       This cause of action arises out of Defendant's

     actions and/or inactions during the investigation and evaluation of Plaintiffs'

     claim. This Defendant is an individual that was b.ired as an adjuster by one or

     more other Defendants herein.

6.   Plaintiff entered into a contract for insurance with Defendant, EMPLOYERS

     MUTUAL to provide coverage for its property and its contents.            Plaintiff's

     insured property is located in Oklahoma County, Oklahoma.

7.   Plaintiff purchased the policy of insurance through the offices of Defendant, ED

     BERRONG         At the time Plaintiff purchased the pol1cy of insurance with

     Defendant EMPLOYERS MUTUAL, the Defendant ED BERRONG was an

     agent and/or an ostensible agent of Defendant EMPLOYERS MUTUAL.

8.    Defendant, ED BERRONG, was familiar with Plaintiff and has served as

      Plaintiff's primary insurance agent for its insurance needs.            Defendant,

      EMPLOYERS MUTUAL, advised Plaintiff of the need to maintain replacement

      cost coverage on the property.




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9.    Plaintiff relied on Defendant, ED BERRONG's representations and purchased the

      same. Plaintiff trusted and believed Defendant, ED BERRONG had the requisite

      insurance agent skills and expertise to properly procure the replacement cost

      insurance coverage Plaintiff requested.

10.   Thereafter Defendant, EMPLOYERS MUTUAL, issued the Business policy of

      insurance, Policy 4W48384, to the Plaintiff.

11.   Defendant, EMPLOYERS MUTUAL, represented to the Plaintiff, directly and

      through its agent, Defendant, ED BERRONG, that it would conduct itself in

      accordance with Oklahoma law and would fully and faithfully investigate and pay

      claims. Plaintiff relied on said representations.

12.   On or about April 16, 2013, the property insured by Plaintiff under the subject

      insurance policy was severely damaged as a direct result of a wind/hailstorm.

13.   Plaintiff timely and properly submitted a claim to Defendant, EMPLOYERS

      MUTUAL, for the property damage incurred due to the wind/hailstorm.

14.    Defendant, EMPLOYERS MUTUAL confirmed that the cause of Plaintiff's

       property damage claim was due to wind/hailstorm and that the loss was covered

       under the terms and conditions of the insurance policy with Defendant,

       EMPLOYERS MUTUAL. Defendant, EMPLOYERS MUTUAL assigned a claim

       number of ZO 1039898.

                             STATUTORY AUTHORITY

15.    This suit is being brought, in part, under the Oklahoma Unfair Settlement

       Practices Act, Okla. Stat. Ann. §36-1250.5; and the Oklahoma Consumer

       Protection Act, 15 Oka. Stat. §753.




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                                FIRST CAUSE OF ACTION
                                BREACH OF CONTRACT

16.    Plaintiff adopts and incorporates by reference paragraphs l through 15 above as if

       fully plead herein, and for further claims against the Defendant, EMPLOYERS

       MUTUAL, alleges as follows:

17.    Plaintiff entered into a contract for insurance with Defendant, EMPLOYERS

       MUTUAL, to provide coverage for the dwelling and personal property.

18.    At all times material hereto, the policy ofinsurance, Policy No. 4W48384, was in

       full force and effect.

19.    Plaintiff provided timely and proper notice of thier claim of property damage

       resultant from the May 31, 2013 wind/hailstorm.

20.    Plaintiff has complied with the terms and conditions and all conditions precedent

       under the policy of insurance.

21.    This notwithstanding, the Defendant, EMPLOYERS MUTUAL, has breached its

       contractual obligations under the terms and conditions of the insurance contract

       with Plaintiff by failing to pay Plaintiff all benefits owed.

22.    As a result of the Defendant, EMPLOYERS MUTUAL's breach of contract the

       Plaintiff has sustained financial losses, and has been damaged in an amount in

       excess of Ten Thousand Dollars ($10,000.00), exclusive of attorneys' fees, costs,

       and all interest allowed by law.

23.    The conduct of Defendant, EMPLOYERS MUTUAL, was intentional, willful,

       malicious, and in reckless disregard to the rights of Plaintiff, and said conduct is

       sufficiently egregious in nature to warrant the imposition of punitive damages.




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                               SECOND CAUSE OF ACTION
                                          BAD FAITH

24.      Plaintiff adopts and incorporates by reference paragraphs I through 23 above as if

         fully plead herein, and for further claims against the Defendants, EMPLOYERS

         MUTUAL, ENGLE MARTIN, and HAUER, (sometimes referred to hereafter as

         the "DEFENDANTS"). alleges as follows:

25.      Defendants, EMPLOYERS MUTUAL, ENGLE MARTIN, and HAUER, owed a

         duty to Plaintiff to deal fairly and act in good faith.

26.      Defendants, EMPLOYERS MUTUAL, ENGLE MARTIN, and HAUER,

         breached their duty to deal fairly and act in good faith by engaging in the

         following acts and/or omissions~

      a. Failing to pay the full and fair amount for the property damage sustained by

         Plaintiff during the April 16, 2013 wind/hailstorm in accordance with the terms

         and conditions of the insurance poilcy.

      b. Failing to pay all additional coverages due and owing to Plaintiff under the terms

         and conditions of the insurance policy

      c. Reducing the fair amount of Plaintiff's claims unfairly and without a valid basis.

      d. Violating the Unfair Claims Settlement Practices Act, 36 O.S. §§1250.1-1250.16

         by wrongfully, intentionally and repeatedly withholding benefits and coverages

         due and owing to the Plaintiff under the terms and conditions of the insurance

         policy.

      e. Wrongfully, intentionally and repeatedly failing to communicate all coverages and

         benefits applicable to Plaintiff's claim.




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      f. Forcing Plaintiff to obtain legal counsel to recover insurance benefits entitled to

            under the terms and conditions of the insurance contract.

      g. Failing to conduct a thlr and objective investigation of the damage to Plaintiff's

            property.

      h. Intentionally engaging in an outcome oriented investigation.

      i.    Intentionally engaging in a systematic scheme designed to save money otherwise

            due and owing to the Plaintiff and other similarly situated insureds as a cost-

            saving mechanism.

27.         Defendants, EMPLOYERS MUTUAL'S, ENGLE MARTIN', and HAUER'S

            obligations to the Plaintiff arise from both express written terms under the

            insurance policy and under the Oklahoma Insurance Code as well as implied

            obligations under Oklahoma law.

28.         Defendants, EMPLOYERS MUTUAL'S, ENGLE MARTIN', and HAUER'S

            failure to implement and/or follow the statutory impositions under the Oklahoma

            Insurance Code constitute bad faith.

29.         Defendants, EMPLOYERS MUTUAL'S, ENGLE MARTIN', and HAUER'S

            conduct is a material breach of the terms and conditions of the insurance contract

            entered into with the Plaintiff and constitutes bad faith.

30.         As a direct and proximate result of Defendants, EMPLOYERS MUTUAL'S,

            ENGLE MARTIN', and HAUER'S unfair claims handling conduct, Plaintiff's

            claim was unnecessarily delayed, inadequately investigated, and wronfgully

            underpaid. Said actions resulted in additional profits and a financial windfall to

            Defendant, EMPLOYERS MUTUAL.




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31.    As a result of the Defendants, EMPLOYERS MUTUAL'S, ENGLE MARTIN',

       and HAUER'S conduct the Plaintiff has sustained financial losses. and has been

       damaged in an amount in excess of Ten Thousand Dollars ($10,000.00), exclusive

      of attorneys' fees, costs, and all interest allowed by Jaw.

32.    The conduct of Defendants, EMPLOYERS MUTUAL, ENGLE MARTIN, and

       HAUER was intentional, willful, malicious, and in reckless disregard to the rights

       of Plaintiff, and said conduct is sufficiently egregious in nature to warrant the

       imposition of punitive damages.

33.   Plaintiff further alleges Defendant, EMPLOYERS MUTUAL enjoyed increased

       financial benefits and ill·gotten gains as a direct result of the intentional and

       wrongful conduct described above, which resulted in further damage to the

       Plaintiff.

                           THIRD CAUSE OF ACTION
                          BREACH OF FIDUCIARY DUTY

34.    Plaintiff adopts and incorporates by reference paragraphs l through 3 3 above as if

      fully plead herein, and for further claims against the Defendants alleges as

       follows:

35.    Due to the unequal bargaining power between Plaintiff and Defendants, the quasi-

       public nature of insurance, and the potential for Defendants to unscrupiously

      exploit that power at a time when Plaintiff was most vulberable, a special

       relationship akin to that of a fiduciary duty exists between Plaintff and

       Defendants.

36.    As a result of the special relationship, Defendants owed a fiduciary duty to their

       insured to act in a manner consistent with the best interests of their insureds.



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37.     A fiduciary duty existed between Plaintiff and Defendant, ED BERRONG. The

        overwhelming influence of Defendant, ED BERRONG over Plaintiff, and

        Plaintiff's dependency and trust in its insurance agent, and Defendant, ED

        BERRONG's assurance it could procure the insurance policy Plaintiff requested

        creates a fiduciary status.

38.     Given the specialized knowledge the Defendant, EMPLOYERS MUTUAL,

        possessed with regard to the tenns and conditions of the insurance policy, the

        Defendant, EMPLOYERS MUTUAL' S duty to act reasonably created such a

        special relationship so as to make the Defendant, EMPLOYERS MUTUAL, a

        fiduciary.

39.     The Defendants breached their fiduciary duties owed to the Plaintiff.

40.     As a result of Defendants' breach of fiduciary duties, Plaintiff has sustained

        financial losses, and has been damaged in an amount in excess of Ten Thousand

        Dollars ($10,000.00), exclusive of attorneys' fees. costs, and all interest allowed

        bylaw.

4 t.    The conduct of Defendants was intentional, willful, malicious, and in reckless

        disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in

        nature to warrant the imposition of punitive damages.

                     FOURTH CAUSE OF ACTION
            NEGLIGENCE IN THE PROCUREMENT OF INSURANCE

42.     Plaintiff adopts and incorporates by reference paragraphs 1 through 41 above as if

        fully plead herein, and for further claims against the Defendants alleges as

        follows:




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43.    Defendant, ED BERRONG, was familiar with Plaintiff and had been hired as

       Plaintiff's primary insurance agent for the property insurance needs.        In this

       capacity, Defendant, ED BERRONG. advised Plaintiff of the need to purchase and

       maintain the more expensive replacement cost coverage so that its business

       dwelling and personal property would be replaced in the event of damage or

       destruction to their property by a covered loss.

44.    Plaintiff relied upon Defendant. ED BERRONG's representations and annually

       purchased the suggested coverage by paying a higher premium each year.

45.    Defendant, ED BERRONG, procW'ed the subject replacement cost policy for

       Plaintiff.

46.    At all times relevant hereto, the Defendant, ED BERRONG, was an agent and/or

       an ostensible agent of Defendant, EMPLOYERS MUTUAL.

47.    Defendant, EMPLOYERS MUTUAL, owed Plaintiff a duty to act in good faith

       and to exercise reasonable care, skill and diligence in the procurement of

       insurance for Plaintiff, and in the notification of insurance coverage options to the

       Plaintiff.

48.    Defendant, ED BERRONG, had a duty to inform Plaintiff of all coverages,

       benefits, limitations and exclusions in the coverage procured.

49.    Defendant, ED BERRONG, breached its duty owed to Plaintiff and is liable to the

       Plaintiff because the insurance requested by Plaintiff was not procured as

       promised and Plaintiff suffered a loss.

50.    Defendant ED BERRONG breached its duty owed to Plaintiff by:




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a.     Procuring an insurance policy that did not serve to actually replace its property

       and personal property when it was damaged or destroyed by a covered loss.

b.     Procuring an insurance policy that did not accurately reflect the replacement cost

       of Plaintiff's dwelling.

c.     Failing to inform Plaintiff of the limitations of the insurance policy procured for

       Plaintiff.

SI.    Defendant, ED BERRONG, was negligent and breached its duty owed to Plaintiff

       by failing to review the policy procured for PJaintiff to ensure it provided

       appropriate and adequate coverage.

52.    Plaintiff reasonably believed the insurance policy procured and mainained by

       Defendant, ED BERRONG, was in conformity to their agreement with        Defendan~

       ED BERRONG

53.    Plaintiff relied upon Defendant, ED BERRONG, to procure and maintain

       appropriate and adequate coverage.

54.    Defendant, ED BERRONG knew or should have known Plaintiff relied upon it to

       procure appropriate and adequate coverage, and it is foreseeable that the failure to

       procure appropriate and adequate coverage for Plaintiff could unnecessarily

       expose Plaintiff to significant harm, losses and damages.

55.    The Defendant, ED BERRONG was an agent and/or an ostensible agent of

       Defendant, EMPLOYERS MUTUAL, and Defendant, EMPLOYERS MUTUAL

       is vicariously liable for the conduct of Defendant, ED BERRONG

56.    As a result of Defendants' conduct, Plaintiff has sustained financial losses, and

       has been damaged in an amount in excess of Ten Thousand Dollars ($10,000.00},




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        exclusive of attorneys' fees, costs, and all interest allowed by law.

57.     The conduct of Defendants was intentional, willfu1, malicious, and in reckless

        disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in

        nature to warrant the imposition of punitive damages.

                            FIFTH CAUSE OF ACTION
                           CONSTRUCTIVE FRAUD AND
                         NEGLIGENT MISREPRESENTATION

58.     Plaintiff adopts and incorporates by reference paragraphs I through 57 above as if

        fully plead herein, and for further claims against the Defendants a11eges as

        follows:

59.     Defendant, ED BERRONG, had a duty to exercise reasonable diligence and skill

        in obtaining and notifying Plaintiff of insurance coverage options.

60.     Defendant, ED BERRONG, breached its duty to Plaintiff by misrepresenting to

        Plaintiff as follows:

a.      That the insurance procured was truly one of "replacement."

b.      That the amount of coverage procured, and for which premiums were paid, was

        equal to the estimated replacement cost of Plaintiff's property.

c.      That the amount of coverage procured would provide the coverage necessary for

        Plaintiff to replace its property in the event it was destroyed by a covered eveot

d.      Th.at the insurance policy procurred would comply with Plaintiff's reasonable

        expectations that the property would be restored to its pre-loss condition in the

        event of a covered loss.

61.     That as a result of Defendant, ED BERRONG'S breach of duty, Defendant, ED

        BERRONG, gained an advantage to the prejudice and detriment of Plaintiff.




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62 .    Defendant, ED BERRONG, misrepresented the nature of the insurance policy

        procured for Plaintiff.

63.     Defendant, ED BERRONG, misrepresented the policy as one which was

        necessary to provide appropriate and adequate coverage for Plaintiff's business

        property and personal property.

64.     Defendant, ED BERRONG; misrepresented the policy was one which was in an

        amount necessary to replace Plaintiff's property in the event it was destroyed by a

        covered event.

65.     Defendant, ED BERRONG's misrepresentations constitute constructive fraud.

66.     Plaintiff was induced to accept and purchase the Defendant, EMPLOYERS

        MUTUAL,        policy      of   insurance   by   Defendant,   ED    BERRONG'S

        misrepresentations and constructive fraud.

67.     Plaintiff was misled by Defendant, ED BERRONG's misrepresentations and

        constructive fraud.

68.     The Defendant, ED BERRONG.. was an agent and/or an ostensible agent of

        Defendant, EMPLOYERS MUTUAL for purposes of these misrepresentations,

        and as such the Defendant, EMPLOYERS MUTUAL, is vicariously liable for the

        conduct of Defendant, ED BERRONG

69.     As a result of the Defendants' misrepresentations and constructive fraud, Plaintiff

        has sustained financial losses, and has been damaged in an amount in excess of

        Ten Thousand Dollars ($10,000.00), exclusive of attorneys' fees, costs, and all

        interest allowed by law.




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70.    Plaintiff is further entit1ed to reformation of the insurance contract to provide

       coverage consistent with the Defendant. ED BERRONG's misrepresentations.

71.    The conduct of Defendants was intentional, willful, malicious, and in reckless

       disregard to the rights of Plaintiff, and/or was grossly negligence, and is

       sufficiently egregious in nature to warrant the imposition of punitive damages.

                             SIXTH CAUSE OF ACTION
                            NEGLIGENT UNDERWRITING

72.    Plaintiff adopts and incorporates by reference paragraphs 1 through 71 above as if

       fully plead herein, and for further claims against the Defendants alleges as

       follows:

73.    At the time the insurance policy was sold to Plaintiff, Defendants were obligated

       to utilize reasonable valuation methodology to determine the costs which

       Defendants considered necessary to cover the replacement costs of Plaintiff's

       property. As such, Defendants were then prohibited from writing a policy for

       more insurance than they considered necessary to cover the replacement cost of

       Plaintiff's property as determined at the time the subject policy was written.

74.    Thereafter, Defendants owed a duty to Plaintiff to exercise good faith, reasonable

       care, skill and expertise in the underwriting analysis to ensure the insurance

       policy provided appropriate and adequate coverage once the insurer-insured

       relationship was established.

75.    Defendants breached their duties to Plaintiff to exercise good faith, reasonable

       care, skill and expertise in failing to establish an accurate and consistent

       methodology for calculating the replacement cost of Plaintiff's dwelling and/or

       personal property.


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76.    Defendants, breach resulted in both inconsistent and inaccurace replacement cost

       valuations whereby the Plaintiff paid premiums for policy limits that did not

       accurately reflect the risks insured.

77.    Defendants further breached their duties by automatically applying Defendant,

       EMPLOYERS MUTUAL's annual inflationary adjustments which were utilized

       to increase Plaintiffs' policy limits and premiums without regard to whether or not

       the inflationary adjustment increase was necessary in relation to the dwelling's

       valuation at the time.

78.    The conduct and inconsistencies referenced herein violate Defendants' duties of

       good faith and fair dealing implicit in the insurance contract with Plaintiff and

       other Oklahoma policyholders.

79.    Defendants' obligations arise from both the express written terms of the policy

       and the Oklahoma Insurance Code and Defendants' failure to implement and/or

       follow Oklahoma's statutory Insurance Code also constitutes unfair claims

       handling.

80.    Defendants• conduct referenced herein constitutes a breach of this duty of good

       faith and fair dealing which is inherent in all insurance contracts within the State

       of Oklahoma

81.    Defendants' failure to procure the proper insurance product morally and legally

       requires it to be held to a duty of reasonable care, and that the burden of the

       resulting liability for breach of this duty be imposed upon them. Thls duty exists

       to foreseeability of the hann to Plaintiff which could occur as a result of failure to

       underwrite or procure adequate and appropriate insurance; the procurement of




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       inadequate and improper insurance is the direct cause of the hann and injury

       suffered by Plaintiff; and the moral blame for the failure to procure and

       underwrite the current policy Hes with the Defendants.

82.    Further, the burden on the Defendants of imposing a duty to exercise care in

       procuring and underwriting the correct insurance policy for the needs of the

       insured (with resulting liability for breach thereof) is minimal given the expertise

       and uneven bargaining power of the Defendants, and Defendants' representations

       of being an expert in the field of providing insurance to the general public, such as

       Plaintiff.

83.    Plaintiff relied on Defendants to conduct an appropriate underwriting analysis to

       ensure and maintain an insurance policy which provided appropriate and adequate

       coverage.

84.    Defendants breached their duties owed to Plaintiff by failing to conduct an

       appropriate underwriting analysis which resulted in issuing a policy of insurance

       to Plaintiff that did not provide appropriate and adequate coverage to Plaintiff.

85.    As a result of the Defendants' conduct, Plaintiff has sustained financial losses, and

       has been damaged in an amount in excess of Ten TI1ousand Dollars ($10,000.00),

       exclusive of attorneys' fees, costs, and all interest allowed by law.

86.    The conduct of Defendants was intentional, willful, malicious, and in reckless

       disregard to the rights of Plaintiff, and/or was grossly negligence, Wld is

       sufficiently egregious in nature to warrant the imposition of punitive dam.ages.




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                            SEVENTH CAUSE OF ACTION
               VIOLATIONS OF OKLAHOMA CONSUMER PROTECTION ACT

87.      Plaintiff adopts and incorporates by reference paragraphs l through 86 above as if

         fully plead herein, and for further claims against the Defendants alleges as

         follows:

88.      Plaintiff brings forth each and every cause of action alleged above under the

         Oklahoma Conswner Protection Act pursuant to its tie-in provision.

89.      At all material times hereto, Plaintiff was a consumer who purchased insurance

         products and services from Defendant.

90.      Defendant has violated the Oklahoma Consumer Protection Act in the manners

         including. but not limited to, the following:

      (1) Representing that the agreement confers or involves rights, remedies. or

         obligations which it does not have, or involve, or which are prohibited by law;

      (2) Failing to disclose information concerning goods or services which was known at

         the time of the transaction when such failure to disclose such information was

         intended to induce the consumer into a transaction that the consumer would not

         have entered into had the information been disclosed;

      (3) Engaging in an unconscionable course of conduct

      (4) At all material times hereto, Plaintiff was a consumer of insurance services or

         products of Defendant, and Plaintiff would show that Defendant's violations as set

         forth above, constitute a violation of the Oklahoma Consumer Protection Act,

         causing Plaintiff damages.

      (5) By accepting insurance premiums but refusing without a reasonable basis to pay

         benefits due and owing, Defendant has engaged in an unconscionable action or



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       course of action as prohibited by the Oklahoma Consumer Protection Act, in that

       Defendant took advantage of Plaintiff's lack of knowledge, ability, experience,

       and capacity to a grossly unfair degree, that also resulted in a gross disparity

       between the consideration paid in the transaction and the value received.

                         EIGHTH CAUSE OF ACTION
                         BREACH OF COMMON LAW
                   DUTY OF GOOD FAITH AND FAIR DEALING

91.     Plaintiff adopts and incorporates by reference paragraphs 1 through 90 above as if

       fully plead herein, and for further claims against the Defendants alleges as

       follows:

92.    Defendants' conduct, as described above, constitutes a breach of the common law

       duty of good faith and fair dealing owed to it's jnsured pursuant to the insurance

       contract.

93.    Defendants' conduct, as described above, was in direct contradiction of the

       applicable industry standards of good faith and fair dealing.

94.    Defendants' failure, as described above, to adequately and reasonable investigate,

       evaluate, and pay the benefits owed under the insurance contract, knowing full

       well through the exercise of reasonable diligence that its liability was reasonably

       clear, resulted in a breach of the duty of good faith and fair dealing.

                                PRAYER FOR RELIEF

        WHEREFORE, premises considered, the Plaintiff prays for judgment against

Defendants, EMPLOYERS .MUTIJAL CASUALTY COMPANY, ED BERRONG

AGENCY, INC., ENGLE MARTIN & ASSOCIATES, INC., and DAVID PAUL

HAUER. II, for:



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 a.    Payment of all contractual benefits for all coverages afforded to Plaintiff

       under the subject policy of insurance for damage to its dwelling and

       person.al property caused by the April 16, 2013, wind/hail   sto~   together

       with interest on all amounts due;

 b.    Disgorgement of the incureased financial benefits derived by Defendants

       as a direct result of Defendants' wrongful or intentional, willful, malicious

       and/or reckless conduct;

 c.    Actual and punitive damages each in an amount in excess of Ten

       Thousand Dollars ($10,000.00); and

 d.    Attorneys' fees, costs and interest, including pre-judgment and post-

       judgment interest.




                                     J. D    WHOUGIITON, OBA# 18080
                                     FOSHEE & YAFFE
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                                            ATTORNEYS FOR PLAINTIFF



ATTORNEYS' LIEN CLAIMED
JURY TRIAL DEMANDED

                            CERTIFICATE OF MAILING

       This is to certify that on this __ day of October, 2014, a true and correct copy of
the above and foregoing was mailed, with proper postage fully prepaid, to:

Phil R.Richards
Jessica N. Battson
RICHARDS & CONNOR
12th Floor, Park Centre Bldg.
525 S. Main Street
Tulsa, Oklahoma 74103
Telephone: 918/585.2394
Facsimile! 918/585.1449
Attorneys for Defendants
Engle Martin & Associates,
Inc. ·and David Paul Hauer, II

                                            J. Drew Houghton




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